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         EXHIBIT D
            Case
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                                  Business Document       1-5
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                                                             Entities      10/04/21
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                                                                                                      Secretary of StateID #:55


Dr. Shirley N. Weber
California Secretary of State


              Business Search - Entity Detail

     The California Business Search is updated daily and reflects work processed through Wednesday, September 29, 2021. Please
     refer to document Processing Times for the received dates of filings currently being processed. The data provided is not a
     complete or certified record of an entity. Not all images are available online.

     C1822884             DISTRIBUTION ALTERNATIVES, INC.
        Registration Date:                                                06/09/1992
        Jurisdiction:                                                     MINNESOTA
        Entity Type:                                                      FOREIGN STOCK
        Status:                                                           ACTIVE
        Agent for Service of Process:                                     MARK CHASE
                                                                          17801 SLOVER AVE
                                                                          BLOOMINGTON CA 92316
        Entity Address:                                                   6870 21ST AVE SOUTH
                                                                          LINO LAKES MN 55038
        Entity Mailing Address:                                           6870 21ST AVE SOUTH
                                                                          LINO LAKES MN 55038

            Certificate of Status


     A Statement of Information is due EVERY year beginning five months before and through the end of June.


       Document Type                                                            File Date                         PDF

       SI-NO CHANGE                                                              12/08/2020


       SI-COMPLETE                                                               03/30/2018


       AMENDED REGISTRATION                                                      10/15/2001


       REGISTRATION                                                              06/09/1992



     * Indicates the information is not contained in the California Secretary of State's database.

             If the status of the corporation is "Surrender," the agent for service of process is automatically revoked. Please refer to
             California Corporations Code section 2114 for information relating to service upon corporations that have surrendered.
             For information on checking or reserving a name, refer to Name Availability.
             If the image is not available online, for information on ordering a copy refer to Information Requests.
             For information on ordering certificates, status reports, certified copies of documents and copies of documents not
             currently available in the Business Search or to request a more extensive search for records, refer to Information
             Requests.
             For help with searching an entity name, refer to Search Tips.
             For descriptions of the various fields and status types, refer to Frequently Asked Questions.


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https://businesssearch.sos.ca.gov/CBS/Detail                                                                                               1/1
